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September 15, 2022


Via ECF
Honorable Denise Cote
United States District Court
Southern District of New York
500 Pearl Street, Room 1910
New York, NY 10007

       Re:     Equitable Advisors, LLC v. Gordon, et. al.
               Case No. 1:22-cv-04990

Dear Judge Cote:

This firm represents Plaintiff Equitable Advisors, LLC. (“Equitable”) in the above-captioned
action (the “Action”). We respectfully write, with the consent of all parties, to request an
adjournment of the Pre-Trial Conference presently scheduled for September 23, 2022 at 11:30
a.m. See Docket Entry No. 24. The reason for this request is that the parties are in negotiations
regarding next steps in early mediation, including selection of a mediator and limited discovery.

All counsel have conferred and are available to attend a Pre-Trial Conference on Friday,
November 18, 2022, if that meets with the Court’s schedule.

We thank Your Honor for consideration of this request.

Respectfully submitted,


/s/ Kimberly A. O’Toole                               The pretrial conference is
Kimberly A. O’Toole, Esq.                             adjourned until Friday,
                                                      November 18 at 2:00 p.m.

                                                      9/19/2022

cc: all counsel of record
